 Case 2:07-cr-00572-TS Document 764 Filed 09/15/20 PageID.2623 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,
                                                      MEMORANDUM DECISION AND
                         Plaintiff,                   ORDER DENYING DEFENDANT’S
                                                      MOTION FOR REDUCTION OF
v.                                                    SENTENCE

RODOLFO MONTOYA-FLORES,
                                                      Case No. 2:07-CR-572 TS
                         Defendant.
                                                      District Judge Ted Stewart



       This matter is before the Court on Defendant’s Motion for Reduction of Sentence. For

the reasons discussed below, the Court will deny the Motion.

       “A district court is authorized to modify a Defendant’s sentence only in specified

instances where Congress has expressly granted the court jurisdiction to do so.” 1 18 U.S.C. §

3582(c)(1)(A) allows the Court to modify a term of imprisonment under certain circumstances.

Relevant here,

       the court . . . upon motion of the defendant . . . may reduce the term of imprisonment
       (and may impose a term of probation or supervised release with or without
       conditions that does not exceed the unserved portion of the original term of
       imprisonment), after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that . . . extraordinary and compelling
       reasons warrant such a reduction.

       The Court finds that Defendant has failed to demonstrate extraordinary and compelling

reasons for his release. Defendant points to generalized concerns about the COVID-19

pandemic. However, he presents no evidence that he suffers from a condition that makes him



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           United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996).


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 Case 2:07-cr-00572-TS Document 764 Filed 09/15/20 PageID.2624 Page 2 of 2




more susceptible to contracting COVID-19 or becoming seriously ill should he contract the

virus. Instead, he points to other family members who suffer from such conditions. Defendant’s

medical records, however, demonstrate that he is largely healthy and has received adequate

medical care while in custody. Defendant also states that his wife, who is the sole caregiver to

their child, suffers from multiple sclerosis. However, there is no information in the record to

suggest that Defendant’s wife is unable to care for their child. While the Court is sympathetic to

Defendant’s concerns, he has not demonstrated extraordinary and compelling reasons for his

release.

       It is therefore

       ORDERED that Defendant’s Motion for Reduction of Sentence (Docket No. 760) is

DENIED WITHOUT PREJUDICE.

       DATED this 15th day of September, 2020.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




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